                  Case 3:21-cv-01525-SI     Document 22   Filed 05/19/22   Page 1 of 3




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Of Attorneys for Defendants Letty Owings Center
and Central City Concern


                                 UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                          PORTLAND DIVISION




NICOLE MORETTI, as Personal                       Case No. 3:21-cv-1525
Representative of the Estate of SAYLOR
MORETTI, deceased,                                DEFENDANTS’ UNOPPOSED JOINT
                                                  MOTION TO EXTEND ANSWER DATE
                            Plaintiff,
                                                  By Letty Owings Center and Central City
                      v.                          Concern
LETTY OWINGS CENTER, CENTRAL
CITY CONCERN and the UNITED
STATES acting through the DEPARTMENT
OF HEALTH and HUMAN SERVICES,

                            Defendants.

                           CERTIFICATE OF COMPLIANCE WITH LR 7-1

            Counsel for Defendants Letty Owings Center and Central City Concern, (“defendants”)

has conferred with Plaintiff’s counsel, Karl G. Anuta, and counsel for all other named parties.

This motion is unopposed and jointly presented by all defendants.

                                               MOTION

            Defendants Letty Owings Center and Central City Concern Recovery Center move the

court on behalf of all defendants for an order extending the deadline for responding to the


DEFENDANTS’ UNOPPOSED JOINT MOTION TO                                       KEATING JONES HUGHES P.C.
                                                                              200 SW Market St., Suite 900
EXTEND ANSWER DATE - Page 1                                                   Portland, Oregon 97201-5730
Doc No. 1807029                                                                      (503) 222-9955
                  Case 3:21-cv-01525-SI   Document 22       Filed 05/19/22   Page 2 of 3




Amended Complaint by 30 days. Defendant United States of America has recently concluded its

analysis whether it is a proper defendant and whether FSHCAA applies to defendants Letty

Owings Center and Central City Concern. The United States has recently advised defendants

Letty Owings Center and Central City Concern of its determination of these complex issues.

Now that defendants Letty Owings Center and Central City Concern have that information, they

are finally able to formulate the response needed as a first appearance to ensure their position

concerning application of FSHCAA and its protections is heard.

            Defendants’ responses to the amended complaint are currently due on May 23, 2022.

The proposed appearance deadline is June 22, 2022. Other scheduling deadlines should be reset

after responses are filed and a Rule 16(b) conference is held. This request is made in good faith

and not for the purposes of delay.

                                            CONCLUSION

            Defendants request that their responses to the amended complaint be due on June 22,

2022.

            DATED this 19th day of May, 2022.

                                          Respectfully submitted,

                                          KEATING JONES HUGHES, P.C.



                                          s/Lindsey H. Hughes
                                          Lindsey H. Hughes, OSB No. 833857
                                          503-222-9955
                                          Attorneys for Defendants Letty Owings Center and Central
                                          City Concern



                                          s/Michael Jeter__ ________________________________
                                          Michael Jeter
                                          Assistant U.S. Attorney
                                          Attorneys for Defendant United States of America



DEFENDANTS’ UNOPPOSED JOINT MOTION TO                                         KEATING JONES HUGHES P.C.
                                                                                200 SW Market St., Suite 900
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Doc No. 1807029                                                                        (503) 222-9955
                  Case 3:21-cv-01525-SI   Document 22      Filed 05/19/22   Page 3 of 3




                                    CERTIFICATE OF SERVICE

            I hereby certify that I served the foregoing DEFENDANTS’ UNOPPOSED JOINT

MOTION TO EXTEND ANSWER DATE on the following:


            Karl Anuta
            Law Office of Karl G. Anuta, P.C.
            735 SW First Ave, 2nd Floor
            Portland, Oregon 97204
            Phone: (503) 827-0320
            Email: kga@integra.net
            Of Attorneys for Plaintiff


            Scott Erik Asphaug
            U.S. Attorney
            District of Oregon
            Michael Jeter
            Assistant U.S. Attorney
            1000 SW Third Avenue, Suite 600
            Portland, Oregon 97204-2902
            Phone: (503) 727-1025
            Email: michael.jeter@usdoj.gov
            Attorneys for Defendant United States of America

by electronically mailed notice from the court to above attorneys on said day.

            DATED this 19th day of May, 2022.

                                          KEATING JONES HUGHES, P.C.


                                          s/Lindsey H. Hughes
                                          Lindsey H. Hughes, OSB No. 833857
                                          lhughes@keatingjones.com, FAX 503-796-0699
                                          Of Attorneys for Defendants Letty Owings Center and
                                          Central City Concern

                                          Trial Attorney: Lindsey H. Hughes, OSB No. 833857




 CERTIFICATE OF SERVICE - Page 3                                             KEATING JONES HUGHES P.C.
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